                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

THE WEST VIRGINIA COALITION
AGAINST DOMESTIC VIOLENCE, INC.,

            Plaintiff,

v.                                      Civil Action No. 2:19-cv-00434

PATRICK J. MORRISEY, in his
official capacity as Attorney
General for the State of West
Virginia,

            Defendant.


                                ORDER


            Pending is the parties’ Joint Motion for Approval of

Exemption Pursuant to Local Rule 16.1(g), filed on August 30,

2019.


            As the parties note in their joint motion, Rule

16.1(g)(3) of the Local Rules of Civil Procedure for the

Southern District of West Virginia exempts “actions for

injunctive relief” from the requirements of Federal Rules of

Civil Procedure 16(b), 26(a)(1)-(4) and 26(f) “unless otherwise

ordered.”   Inasmuch as plaintiff’s complaint seeks declaratory

judgment as well as injunctive relief, the exemption does not

apply.   The court will nonetheless grant the relief sought in

the joint motion and it is hereby ORDERED that the parties may

defer holding a Rule 26(f) meeting, filing the report of the
Rule 26(f) meeting, and making Rule 26(a)(1) disclosures until

the further order of the court.


           This matter can be further addressed at the scheduling

conference with the court at 2:30 p.m. on September 20, 2019.


           The Clerk is requested to transmit this Order and

Notice to all counsel of record and to any unrepresented

parties.


                                      DATED: September 5, 2019




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